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 1    MICHAEL A. JACOBS (CA SBN 111664)
      MJacobs@mofo.com
 2    ARTURO J. GONZÁLEZ (CA SBN 121490)
      AGonzalez@mofo.com
 3    MORRISON & FOERSTER LLP
      425 Market Street
 4    San Francisco, California 94105-2482
      Telephone:    415.268.7000
 5    Facsimile:    415.268.7522

 6    KAREN L. DUNN (Pro Hac Vice)
      kdunn@bsfllp.com
 7    BOIES SCHILLER FLEXNER LLP
      1401 New York Avenue, N.W.
 8    Washington DC 20005
      Telephone:   202.237.2727
 9    Facsimile:   202.237.6131

10    WILLIAM CARMODY (Pro Hac Vice)
      bcarmody@susmangodfrey.com
11    SUSMAN GODFREY LLP
      1301 Avenue of the Americas, 32nd Floor
12    New York, NY 10019-6023

13    Attorneys for Defendants
      UBER TECHNOLOGIES, INC.
14    and OTTOMOTTO LLC

15    NEEL CHATTERJEE (SBN 173985)
      nchatterjee@goodwinlaw.com
16    GOODWIN PROCTER LLP
      135 Commonwealth Drive
17    Menlo Park, California 94025
      Tel.: +1 650 752 3100
18    Fax.: +1 650 853 1038

19    Attorneys for Defendant
      OTTO TRUCKING LLC
20                               UNITED STATES DISTRICT COURT
21                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
22    WAYMO LLC,                                   Case No. 3:17-cv-00939-WHA

23                         Plaintiff,                     DEFENDANTS’ REPLY IN SUPPORT
                                                          OF MOTION FOR SUMMARY
24           v.                                           JUDGMENT

25    UBER TECHNOLOGIES, INC., OTTOMOTTO                  Date: September 20, 2017
      LLC; OTTO TRUCKING LLC,                             Time: 8:00 a.m.
26                                                        Ctrm: 8, 19th Floor
                           Defendants.                    Judge: The Honorable William Alsup
27                                                        Trial Date: October 10, 2017

28                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

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 1    Otto Trucking has directly misappropriated its trade secrets.

 2            Recognizing it has no basis for a direct liability claim, Waymo states that it is “simply

 3    holding Otto Trucking liable . . . under the doctrines of vicarious liability and ratification.”

 4    Waymo’s Opposition to Defendants’ Motion for Summary Judgment (“Opp.”) at 24. No

 5    evidence exists to support Waymo’s newly minted legal theories. Otto Trucking did not exist at

 6    the time of Mr. Levandowski’s alleged misappropriation of Waymo’s alleged trade secrets, and

 7    an entity cannot be vicariously liable for conduct that happened prior to its existence. Again,

 8    Waymo does not deny this fact, and does not even try to explain how Otto Trucking can be

 9    responsible for conduct that predated its existence. Rather, Waymo tries to save its vicarious

10    liability claim by arguing that Otto Trucking subsequently ratified the alleged misappropriation

11    by “accepting and retaining benefits” from the alleged misconduct. This “benefit,” according to

12    Waymo is an increased valuation of Otto Trucking. This theory was conjured by Waymo in the

13    Eleventh Hour and is unsupported by any evidence. Waymo’s own damages expert has made no

14    mention of this argument or provided any damages theory against Otto Trucking whatsoever. In

15    fact, Waymo can point to no evidence that ties any increased valuation to any trade secret.

16    Waymo cannot avoid Otto Trucking’s motion by simply making stuff up.

17            Waymo also tries to salvage its claim by incorrectly arguing that Otto Trucking is a joint

18    tortfeasor with Uber and Ottomotto. To be considered a joint tortfeasor - and thus subject to joint

19    and several liability - Waymo must provide competent evidence that shows a concerted action

20    between Otto Trucking and Uber/Ottomotto in connection with the alleged trade secret

21    misappropriation. See infra at V. But again, Waymo does not and cannot identify a shred of

22    evidence suggesting that Otto Trucking was somehow acting in concert with Uber/Ottomotto in

23    the alleged misappropriation. In fact, the concession that Otto Trucking has no involvement with

24    Fuji and/or Spider is fatal to its claim of joint and several liability

25            Waymo finally claims it cannot obtain complete relief without Otto Trucking because the

26    Court cannot fashion an injunction that covers Otto Trucking in the event of a future acquisition

27    by Uber. If the Court imposes permanent injunctive relief against Uber for trade secret

28    misappropriation, that injunction could certainly – and would normally –cover any current and

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 1    future affiliates of Uber. In any event, injunctive relief against Otto Trucking is not appropriate

 2    as Waymo has no evidence to support the underlying claim against Otto Trucking.

 3    II.    WAYMO DOES NOT DISPUTE THAT OTTO TRUCKING DOES NOT USE THE
             PRODUCTS AT ISSUE
 4

 5           Waymo concedes it has no claim that Otto Trucking has directly misappropriated its

 6    alleged trade secrets. The undisputed facts show the following. Otto Trucking has no R&D

 7    capabilities, no employees, and has no plans to develop technology in the future. See Declaration

 8    of Shane Brun (“Brun Decl.”), Ex. 1 (Bentley 30(b)(6) Dep.) at 80:1-15, 86:18-87:9. The

 9    undisputed facts show that Otto Trucking has never been involved in the development of, and has

10    never used, either the Spider or Fuji system. And Mr. Levandowski’s role is limited to issuance

11    of equity interests and “high level” business issues. See Brun Decl., Ex. 1 at 68:1-72:20 (“ Given

12    Otto Trucking's very limited business operations, the managing members are not required to

13    actively manage Otto Trucking. Mr. Levandowski's and Mr. Ron's primary duties prior to the end

14    of 2016 were to approve the issuances of equity interests in Otto Trucking.”); see also Brun Decl.,

15    Ex. 1 at 76:23-77:7, Ex. 2 (Deposition of Lior Ron) at 232:1-235-17.

16           Because it has no claim of directly liability, Waymo rests its liability theory on a faulty

17    application of the doctrines of vicarious liability and ratification. Opp. 24. As discussed below,

18    Waymo’s vicarious liability and ratification arguments are also without any support and fail as a

19    matter of law.

20    III.   WAYMO CANNOT PROVE INDIRECT LIABILITY
21           A.        Vicarious Liability Does Not Apply for Pre-Formation Actions of Mr.
                       Levandowski
22
             As stated in Otto Trucking’s motion, Mr. Levandowski’s alleged taking of Waymo’s trade
23
      secrets occurred before Otto Trucking was even formed. As Otto Trucking did not exist at the
24
      time, Mr. Levandowski’s alleged taking of Waymo’s trade secrets could not have been in the
25
      scope of Mr. Levandowski’s role with Otto Trucking, and thus Otto Trucking cannot be
26
      vicariously liable for that conduct. See Motion at 20.
27
             Knowing it has no facts to support its claim, Waymo next tries to shift the burden to Otto
28

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 1    Trucking to disprove vicarious liability. Specifically, Waymo argues that “Otto Trucking has

 2    failed to come forward with any credible evidence to absolve itself of liability.” Opp. at 19.

 3    Waymo bears the burden, not Otto Trucking. Waymo must provide evidence to prove the

 4    claimed agency relationship exists. Crystal Cruises, Inc. v. Moteurs Leroy-Somer S.A., 545 F.

 5    App'x 647, 648 (9th Cir. 2013) (quoting Inglewood Teachers Ass'n v. Pub. Emp't Relations Bd.,

 6    227 Cal.App.3d 767, 780 (1991)(upholding summary judgment because plaintiffs “failed to raise

 7    a genuine dispute of material fact relevant to [Defendant] being vicariously liable”); C.A.R.

 8    Transp. Brokerage Co., Inc. v. Darden Restaurants, Inc., 213 F.3d 474, 480 (9th Cir.2000).

 9    Waymo has not, however, raised a dispute of material fast as to whether Otto Trucking may be

10    found vicariously liable for Mr. Levandowski’s alleged conduct.

11            B.      Vicarious Liability Does Not Apply for Post-Formation Actions of
                      Mr. Levandowski
12
                      1.      Waymo cannot show Otto Trucking participated in, ratified, or
13                            benefitted after it was formed
14            Waymo also suggests that liability can attach based upon an allegation that

15    Mr. Levandowski possessed trade secrets post-formation of Otto Trucking. (Opp. at 22)

16    (“Mr. Levandowski continued and continues to possess these trade secrets during the time when

17    he is an Otto Trucking executive”) (emphasis in original). But vicarious liability attaches only

18    when the alleged wrongful conduct is within the authority of the agent/employee. Mot. at 20;

19    Droeger v. Welsh Sporting Goods Corp., 541 F.2d 790, 792–93 (9th Cir. 1976). But Waymo

20    offers no evidence that Mr. Levandowski’s alleged possession is within the scope of Mr.

21    Levandowski’s limited role as a Managing Member or within the scope of Otto Trucking’s

22    business, which is to own trucks. Waymo tries to save its vicarious liability argument by

23    incorrectly claiming that Otto Trucking subsequently ratified Mr. Levandowski’s alleged conduct

24    by accepting and retaining some benefit from the alleged misappropriation. The undisputed facts

25    show that Otto Trucking never used any of the alleged trade secrets, and no evidence suggests

26    that Otto Trucking has otherwise accepted, or retained any benefit from, Waymo’s allegedly

27    stolen trade secrets.

28            Waymo’s ratification theory is to assert that the alleged continued possession of Waymo’s

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 1    trade secrets by Mr. Levandowski, “as an Otto Trucking executive . . . effectively increases the

 2    value that Otto Trucking would have as an acquisition target to Uber” and identifies this supposed

 3    increase in value as an “accepted and retained benefit by Otto Trucking.” Opp. at 23. This

 4    argument was fashioned from whole cloth by Waymo just to try to avoid this motion. Waymo

 5    has offered no facts to demonstrate an increase in value tied to the so-called trade secrets and has

 6    offered no expert testimony to support this errant theory. Waymo’s ratification argument is
                                                                                                         4
 7    without any evidentiary support whatsoever, and the Court should give it absolutely no weight.

 8           Waymo next claims that “Otto Trucking has ratified [the alleged] misappropriation by

 9    failing to take any adverse action against Levandowski . . .” Opp. at 22. This argument is legally

10    flawed. As has been discussed and revisited many times in this case, as Mr. Levandowski is one

11    of two managing members of Otto Trucking, Otto Trucking does not have the authority or ability

12    to take the affirmative actions against Mr. Levandowski as proposed by Waymo without Mr.

13    Levandowski’s consent. See Brun Decl., Ex. 2 at 282:19-283:10; Ex. 1 at 72:5-11 In any event,

14    an inability to take adverse action for activities outside the business of Otto Trucking is not

15    ratification as a matter of law for the reasons explained above.

16                   2.      Waymo’s cases are inapplicable here
17           Waymo relies upon three District Court opinions to support its vicarious liability theories.

18    All three are inapplicable. Each case involves situations where the employer / principal clearly

19    participated in and benefitted from the alleged misconduct of its employee. In Extreme Reach,

20    for example, the Court found that “evidence also exists that SpotGenie’s CEO had some

21    involvement in misappropriation of the Customer List” and the Extreme Reach has raised

22    question regarding SpotGenie’s direct liability for misappropriation. Extreme Reach, Inc. v.

23

24    4
        Waymo’s discussion of privilege issues surrounding the Stroz report is also a red herring. Opp.
      at14-23. As with most of its opposition, Waymo does not explain how these discussions of
25    privilege relate to, or raise any disputed material fact supporting, its opposition. In fact, Waymo
      successfully argued that Otto Trucking was not a party to the Stroz investigation and had no
26    interest to protect. It is now judicially estopped from arguing a contrary position. New
      Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“[W]here a party assumes a certain position in a
27    legal proceeding, and succeeds in maintaining that position, he may not thereafter, simply
      because his interests have changed, assume a contrary position, especially if it be to the prejudice
28    of the party who has acquiesced in the position formerly taken by him.”

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 1    SpotGenie Partners, LLC, No. CV 13-07563-DMG (JCGx), 2013 WL 12081182 at *6 (C.D. Cal.

 2    2013). In holding that SpotGenie could also possibly be vicariously liable for the alleged

 3    misappropriation, the Court further held that “SpotGenie knew that the Sales Managers might

 4    misappropriate Extreme Reach’s Customer List — indeed, SpotGenie hired them with the

 5    expectation that they would bring Extreme Reach’s book of business with them — and therefore

 6    their misappropriation was foreseeable.” SpotGenie’s involvement and direct benefit from the

 7    alleged misappropriation in Extreme Reach is not comparable to Otto Trucking’s position in this

 8    case.

 9            As noted above, Otto Trucking did not even exist at the time of the alleged

10    misappropriation, and thus could not have approved or otherwise been involved in the alleged

11    misappropriation. Further, contrary to Extreme Reach, which is a preliminary injunction

12    decision, discovery in this case is now complete, and Waymo cannot point to a single fact

13    suggesting that Otto Trucking participated in, ratified, or was otherwise involved in any way in,

14    Mr. Levandowski’s alleged misappropriation.

15            Like Extreme Reach, Language Line Servs., Inc. v. Language Servs. Associates, LLC, No.

16    C-10-02605 JW, 2010 WL 2764714 (N.D. Cal. 2010) involved evidence of the defendant

17    employer’s use and benefit from the allegedly stolen trade secret. The defendant employer had

18    conceded that its employees “impermissibly used Plaintiff’s customer information” in connection

19    with the employer’s business. Id. at *2. Here, Otto Trucking was not in existence at the time of

20    the alleged misappropriation, and the indisputable facts are that Otto Trucking did not participate

21    in, ratify, or otherwise become involved in any way in, Mr. Levandowski’s alleged taking of

22    Waymo’s trade secrets. And as discussed above, Waymo has not presented any evidence to

23    suggest that the alleged misconduct by Mr. Levandowski was somehow within the scope of Otto

24    Trucking’s business, which is simply to hold trucks.

25            Finally, in Fujitsu, a ruling on a motion to dismiss, the court simply stated that plaintiffs

26    had stated a claim with the conclusory allegation that the counter-defendant was “acting with and

27    for UI.” Competitive Technologies v. Fujitsu Ltd., 286 F.Supp.2d 1118, 1148 (2003). The Court

28    also noted “Fujitsu has not cited to any authority establishing that a principal may be held liable

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 1    for misappropriation of trade secrets even where it is unaware that information constitutes a trade

 2    secret and does not itself disclose the trade secret.” Id. Here, Waymo has shown no evidence that

 3    Otto Trucking knew what the trade secret was and it is undisputed that Otto Trucking did not

 4    disclose any trade secrets.

 5    IV.    OTTO TRUCKING CANNOT BE HELD LIABLE THROUGH REVERSE VEIL
             PIERCING
 6

 7           With no viable claim of indirect liability, Waymo is simply attempting to pierce the

 8    corporate veil in reverse to hold Otto Trucking liable based solely on the fact that Mr.

 9    Levandowski owns a substantial number of shares in Otto Trucking. The Court should not allow

10    it. As an initial matter, it appears that reverse veil piercing is prohibited as a matter of law in

11    California and multiple other jurisdictions as it would be “a complete distortion of” and a “radical

12    and problematic change” in the alter ego doctrine. Postal Instant Press, Inc. v. Kaswa Corp., 162

13    Cal.App.4th 1510 (2008); see also He Nam You v. Japan, 150 F.Supp.3d 1140, 1150 (N.D. Cal.

14    2015). This alone should be sufficient to negate Waymo’s claims. Second, even if reverse veil

15    piercing were allowed, a plaintiff must first show that (1) it has no alternative adequate remedies

16    and (2) no innocent shareholders would be harmed by the piercing. Postal Instant Press at 1524.5

17    Waymo does not attempt to make either showing, and it couldn’t even if it tried. As discussed in

18    its Motion, Otto Trucking has over one hundred innocent shareholders that would potentially be

19    directly and unjustly harmed if the Court were to allow Waymo to hold it liable for Mr.

20    Levandowski’s alleged conduct. And Waymo plainly has adequate remedies in this case without

21    Otto Trucking. Waymo’s claims of misappropriation in this case have been solely directed at

22    Uber and Ottomotto. If Waymo is able to prove its claims, it clearly will be able to recover fully

23    from Uber.

24

25

26
             5
                Contrary to Waymo’s argument, to the extent reverse piercing is allowed, it is not
27    necessarily limited to the circumstances of a third party seeking to reach the assets of a company
      to satisfy a judgment against a shareholder. See Postal Instant Press, 162 Cal.App.4th at 1518.
28    (“a corporation may be held liable for the debts or conduct of a shareholder.”)

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 1    V.     OTTO TRUCKING CANNOT BE JOINTLY AND SEVERALLY LIABLE FOR
             TRADE SECRET MISAPPROPRIATION
 2

 3           Joint tortfeasors may be held jointly and severally liable for trade secret misappropriation.

 4    However, for joint and several liability to attach, each tortfeasor must have involvement in the

 5    misappropriation. Waymo has offered no competent evidence to demonstrate any involvement by

 6    Otto Trucking, and thus cannot be jointly and severally liable for Uber and Ottomotto’s alleged

 7    torts. Mot. at 20; see also Mayhugh v. County of Orange, 190 Cal. Rptr. 537, 540 (Cal. App. 4th

 8    Dist. 1983)(dissent) (“[T]o constitute “joint tortfeasors,” the following three elements must be

 9    present: (1) a concert of action; (2) a unity of purpose or design; (3) two or more defendants

10    working separately but to a common purpose and each acting with the knowledge and consent of

11    the others.”). Waymo falsely claims “that Otto Trucking is collaborating on the ‘Otto Trucking

12    project [] to develop an AV kit that can be integrated to a truck.” Opp. at 19, Ex.29. Waymo

13    cites Otto Trucking’s 30(b)(6) witness to support its errant position. This testimony supports Otto

14    Trucking, not Waymo. The cited deposition testimony is clear that this work is being performed

15    exclusively by Uber employees, not Otto Trucking, and that Uber is the beneficiary of that work.

16    Moreover, under the Framework Agreement, all intellectual property that may be used on Otto

17    Trucking’s trucks is owned and controlled by Uber. See Brun Decl., Ex. 3..

18           Waymo otherwise does not attempt to explain or provide any authority to demonstrate

19    how Otto Trucking can be considered a joint tortfeasor with Uber and Ottomotto in connection

20    with Waymo’s trade secret claims. Waymo does not and cannot identify a single fact suggesting

21    any concert of action and cooperation between Otto Trucking and Uber/Ottomotto in connection

22    with alleged misappropriation of Waymo’s trade secrets. Indeed, the undisputed facts are that

23    Otto Trucking has never obtained, used, or disclosed any Waymo alleged trade secrets; and

24    Waymo has never even alleged any specific involvement by Otto Trucking in the alleged

25    misappropriation.

26           Because Otto Trucking plainly cannot be considered a joint tortfeasor in this case, it

27    cannot be held jointly and severally liable with Uber and Ottomotto on those claims.

28

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 1    VI.      WAYMO MISSTATES THE RECORD

 2             Waymo claims that the Court has already determined that “Otto Trucking is ‘soaked’ with

 3    liability,” and relies upon statements made earlier in Court proceedings. Opp. at 19 (citing Dkt.

 4    775 at 65:18-24). Here again, Waymo is misleading. The cited exchange between the Court and

 5    counsel related to Otto Trucking’s connection to the Stroz report as it came up in Court-issued

 6    questions to Uber. In response to Otto Trucking’s counsel statement that Uber’s counsel did not

 7    represent Otto Trucking in connection with the Stroz report, the Court asked “so doesn’t Otto

 8    Trucking — isn’t Otto Trucking soaked . . . with. All guilty knowledge attributable to

 9    Levandowski is attributable to Otto trucking.” But at the end of the discussion, the Court

10    acknowledged counsel’s point “that as to [the facts at issue], they don’t pertain to Otto Trucking”:

11    “All right. That part is a fair point.” Dkt. 775 at 66:15-18. While the “soaked” comment may be

12    a fun soundbite for Waymo, and regardless of exactly what the Court meant in its cited

13    comments, the Court did not predetermine at that hearing that Otto Trucking is vicariously liable

14    for Mr. Levandowski’s alleged conduct as Waymo claims. Indeed, “it is generally not

15    appropriate to . . . impute an agent's knowledge of a secret to the principal . . . when the trade

16    secret was not actually communicated to or used by the principal. The plaintiff is not entitled to a

17    windfall when in fact there has been no invasion of those interests which trade-secret law seeks to

18    protect.” Droeger, 541 F.2d at 793 (9th Cir. 1976).

19    VII.     THE COURT CAN FASHION THE APPROPRIATE EQUITABLE REMEDIES
               WITHOUT OTTO TRUCKING
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21          Waymo argues that without Otto Trucking, the court will be unable to fashion an appropriate

22    remedy if Waymo prevails against Uber and Ottomotto. Not only is Waymo putting the cart

23    before the horse here as it must establish liability before seeking injunctive relief, its

24    characterization of the scope of injunctive relief is false as a matter of law. See, e.g., Toyo Tire &

25    Rubber Co., Ltd. v. CIA Wheel Group, SACV150246DOCDFMX, 2017 WL 514324, at *3 (C.D.

26    Cal. Jan. 23, 2017) (holding that corporate affiliates and parents were bound by an injunction

27    entered into by a subsidiary.) Pursuant to Fed. R. Civ. P. 65, an injunctive order is binding upon

28    “the parties to the action, their officers, agents, servants, employees, and attorneys, and upon

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 1    those persons in active concert or participation with them who receive actual notice of the order.”

 2    S.E.C. v. Wencke, 622 F.2d 1363, 1368 (9th Cir. 1980). In the event Uber exercises its option to

 3    purchase Otto Trucking, any injunctive relief granted against Uber would obviously apply to Otto

 4    Trucking. In fact, regardless of a potential Uber acquisition, any injunction exercised upon Uber

 5    would immediately impact Otto Trucking, as all of Otto Trucking’s trucks are operated solely by

 6    Uber employees and any intellectual property and technology installed on those trucks comes

 7    from Uber under the Framework agreement. Contrary to Waymo’s professed concern, Uber’s

 8    potential acquisition of Otto Trucking and the Court’s ability to fashion the right relief, is simply

 9    not an independent reason to keep Otto Trucking in this case. Indeed, as with the bulk of its

10    opposition, Waymo cites zero authority for this proposition. Waymo’s irrelevant concern must

11    not keep Otto Trucking in a case where it does not belong.

12    VIII. CONCLUSION
13           For the foregoing reasons, the Court should grant Otto Trucking’s motion for summary

14    judgment that it has not misappropriated any Waymo trade secret.

15

16    Dated: September 18, 2017                      MORRISON & FOERSTER LLP
17
                                                     By:    /s/ Michael A. Jacobs
18                                                          MICHAEL A. JACOBS
19                                                   Attorneys for Defendants UBER TECHNOLOGIES,
                                                     INC. and OTTOMOTTO LLC
20

21    Dated: September 18, 2017                      GOODWIN PROCTER LLP
22
                                                     By:    /s/ Neel Chatterjee
23                                                          NEEL CHATTERJEE
24                                                   Attorneys for Defendant OTTO TRUCKING LLC
25

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 1                             ATTESTATION OF E-FILED SIGNATURE

 2           I, Michael A. Jacobs, am the ECF User whose ID and password are being used to file

 3    Defendants’ Reply in Support of Motion for Summary Judgment. In compliance with General

 4    Order 45, X.B., I hereby attest that Neel Chatterjee has concurred in this filing.

 5    Dated: September 18, 2017                                 /s/ Michael A. Jacobs
                                                                  MICHAEL A. JACOBS
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